                        Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 1 of 10
AO 245B       (Rev 09/11) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                            District of Massachusetts
                                                                          )
             UNITED STATES OF AMERICA                                     )        JUDGMENT IN A CRIMINAL CASE
                                 v.                                       )
                   LUZ ENEIDA MORALES                                     )
                                                                          )        Case Number: 13-CR-30021-DPW-3
                        a/kJa Mama
                                                                          )        USM Number: 58454-018
                                                                          )
                                                                          )        Raymond A. O'Hara
                                                                                   Defendant's Attorney
THE DEFENDANT:
1itpleaded guilty to count(s)         1 of the Indictment on 3/3/2014

o pleaded nolo contendere to count(s)
  which was accepted by the court.
o was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses :

Title & Section                  Nature of Offense                                                          Offense Ended
21 U.S.C. § 846,                  Conspiracy to Possess with Intent to Distribute Oxycodone                  4/11/2013                    1 of 1

 21 U.S.C. § 841(a)(1)



       The defendant is sentenced as provided in pages 2 through               6
                                                                          - - - - of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) - -- - - - - - - - - - - o is                          o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances .

                                                                           7/18/2014




                                                                          Signature of Judge




                                                                           Douglas P. Woodlock                          Judge,U.S . District Court
                                                                          Name and Title of Judge


                                                                         fLy             L3) lb/'/
                         Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 2 of 10

A O 2458     (Rev. 09/ 11) Judgment in Cr im inal Case
             Sheet 2 - Imprisonment

                                                                                                              Judgment -   Page   _ -=-
                                                                                                                                     2_   of   6
 DEFENDANT: LUZ ENEIDA MORALES a/kJa Mama
 CASE N UMB ER: 13-CR-30021-DPW-3


                                                                 IMPRISONMENT

          The defendant is hereby comm itted to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
     12 months and 1 day.




       o The court makes the following recommendati ons to the Bureau o f Prisons:



       o The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the Unite d States Marshal for this distric t:
         o at                                  0 a.m.        o p.m. on
         o as notified by the United States Marshal.
       ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ~ before 2 p.m. on              9/12/2014

           o as notified by the United States Marshal.
           o as notified by the Probatio n or Pretrial Services Office.

                                                                        RETURN
 I have executed this jud gment as follow s:




           Defendant delivered on                                                               to

 a                                                       , with a certifie d copy o f this j udgment.



                                                                                                           UN IT ED STATES MA RSHAL


                                                                                By
                                                                                                        DEPUTY UNI TED STAT ES MARSHAL
                        Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 3 of 10


AO 2458       (Rev 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                             Judgment-Page      3    of        6
DEFENDANT: LUZ ENEIDA MORALES a/kJa Mama
CASE NUMBER: 13-CR-30021-DPW-3
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the de fendant shall be on supervised release for a term of :
 3 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter ,Jl:Mkbe~:;b)obKmoFt.               not to exceed 104 tests per year                          I   as directed.
o        The above drug testing condition is suspended, based on the court 's determ ination that the defendant poses a low risk of
         future substance abuse. (Check.!( applicable.}

         The defendant shall not possess a tirearm, ammunition, destructive device, or any other dangerous weapon. (Ch eck. if oppltcable.}
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.}

         The defendant shall comply with the requirements of the Sex Offender Registration and Notific ation Act (42 U.S.C. § 1690 I, et seq.)
o        as directed by the probation officer, the Bureau of Prisons, or any state sex 0 ffender registration agency in which he or she resides,
         works, IS a student , or was convicted ofa qualifying offense. (Check, if appli cable)

o        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.}
        1f this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation , unless excused by the probation officer for schooling, training, or other
          acceptable reasons ;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from exces sive use 0 f alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substance s, except as prescribed by a physician ;
    8)     the defendant shall not frequent places where controlled substances are illegally so ld, used, distributed, or adm inistered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probati on officer;
  I 1)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court ; and

  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteri stics and shall permit the probation officer to make such notifications and to confirm the
          defendant 's compliance with such notification requirement.
                   Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 4 of 10

AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                           Judgment-Page    4    of          6
DEFENDANT: LUZ Ef\IEIDA MORALES a/k/a Mama
CASE NUMBER : 13-CR-30021-DPW-3

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant is to participate in a mental health treatment program as directed by the Probation Office. The defendant
 shall be required to contribute to the costs of services for such treatment based on the ability to payor availability of
 third-party payment.
                    Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 5 of 10
AO 245B   (Rev. 09111) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page         5   of        6
DEFENDANT: LUZ ENEIDA MORALES a/k/a Mama
CASE NUMBER: 13-CR-30021-DPW-3
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                                                   Restitution
TOTALS            $ 100.00                                              $                                    $



D The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AG 245Cj will be entered
    after such determination.

D The defendant must make restitution (including community restitution ) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
     before the United States is paid,

Name of Payee                                                                 Total Loss*        Restitution Ordered      Priority or Percentage




TOTALS                              $                            0.00                                 0.00
                                                                                 $ - - - - -- - - - ­


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest o n restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the j udgment, pursuant to 18 U.S.c. § 3612(f) . All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o the interest requirement is waived for the               D fine       D restitution.
     D the interest requirement for the              D   fine    D restitution is modified as follow s:


• Findings for the total amount oflosses are required under Chapters 109A, 110, II OA , and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                      Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 6 of 10
AO 245 B   (Rev. 09/1 1) Jud gment in a Crim ina l Cas e
           Sheet 6 - Sc hedule of Paymen ts

                                                                                                                   Ju dgmenl- Page        6     of           6
DEFENDANT: LUZ ENEIDA MORALES a/k/a Mama
CASE NUMBER: 13-CR-30021-DPW-3

                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monet ary penalties is due as follow s:

A     D    Lump sum payment of$                                      due immediately, balance due

           D      not later than                                         , or
           D      in accordance              o C,          0    D,   0     E, or     0 F below; or
 B    ~ Payment to begin immediately (may be comb ined with                        D C,      D D, or       Iif'F below); or

C     D    Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                              over a period of
                             (e.g., months or years) , to commence                        (e.g., 30 or 60 days) after the date o f this judgment; or

D     D    Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                             (e.g., months or years) , to comm ence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defend ant' s ability to pay at that time; or

 F    ~ Special instructions regarding the payment of criminal monetary penalties :
           The defendant shall pay the special assessment of $100 .00, immediately, or it shall be made accord ing to the
           requirements of the Federal Bureau of Prisons' Inmate Financial Respons ibility Program while the defendant is
           incarcerated and accord ing to a court-ordered repayment schedule established by the Court in consultation with
           the probation officer, during the term of supervised release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalt ies imposed.




D     Joint and Several

      Defendant and Co-D efendant Names and Case Numbers (including defendant number), Total Amou nt, Joint and Several Amount,
      and corresponding payee, if ap propriate.




D     The defendant shall pay the cost of prosecution .

D     The defendant shall pay the following co urt cost(s) :

D     The defendant shall forfeit the defendant ' s inter est in the followi ng property to the United States:




Payments shall be applied in the following order: ( I) assessment, (2) restitution principal, (3) rest itution interest, (4) fine principal,
(5) tine interest, (6) community restitution , (7) penalties, and (8) costs, including cost of prosecution and court costs.
                     Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 7 of 10
AO 245B   (Rev 09/11) Judgment in a Criminal Case
          Attachment(Page I) - Statement of Reasons


DEFENDANT: LUZ ENEIDA MORALES a/k/a Mama
CASE NUMBER: 13-CR-30021-DPW-3
01 STRICT:   District of Massachusetts
                                                        STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGA TlON REPORT

                 The court adopts the presentence investigation report without change.

      8   D      The court adopts the presenten ce investigation report with the following changes.
                 (Check all that apply and specify court determination. findings. or comments, referencing paragraph numbers in the presentence report, if applicable)
                 (Use page 4 if necessary.)

                 D    Chapter Two of the U.S.S.G. Manual determinations by court (including changes to base offense level, or
                      specific offense characteristics):



          2      D    Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                      role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):



          3      D    Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
                      scores, career offender, or criminal livelihood determinations):



          4      D    Additional Comments or Findings (including comments or factual findings concerning certain information in the
                      presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                      or programming decisions):



      C   D      The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COLI RT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

                 No count of conviction carries a mandatory minimum sentence.

      8   D      Mandatory minimum sentence imposed.

      C   D      One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                 sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                 does not apply based on

                 D    findings of fact in this case
                 D    substantial assistance (18 U.Sc. § 3553(e))

                 D    the statutory safety valve (18 USc. § 3553(f)



III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level: -=.
                             2-'..
                               1                                   _
      Criminal History Category:
      Imprisonment Range: --'3"-7'-----__ to 46          months
      Supervised Release Range:        1         to --"0
                                                      3         years
      Fine Range: $ 7.500               to $ 1,000,000

      ~ Fine waived or below the guideline range because of inability to pay.
                             Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 8 of 10
AO 245B       (Rev. 0911 1) Judgment in a Criminal Case
              Attachment (Page 2) - Statement of Reasons


DEFENDANT: LUZ ENEIDA MORALES a/kJa Mama
CASE NUMBER: 13-CR-30021-DPW-3
01STRICT:    District of Massachusetts
                                                                 STATEMENT OF REASONS

IV    ADVISORY GUIDELINE SENTENCING DETERMINA nON (Check only one.)

      A       D            The sentence is within an advisory guideline range th at is not greater than 24 months, and the court finds no reas on to depart.

      B       D            The sentence is within an advisory guideline range that is greater than 24 months. and the specific sentence is imposed for these reason s.
                           (Use page 4 if necessary.)



      c D                  Th e court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                           (A/so complete Sec /ion V.)

      o       tZf          Th e court imposed a sentence outside the advisory sentencing guideline system, (A/so camp/ ere Section V/.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (/fapplicable.)

      A       The sentence imposed departs (Check only one.):
              D below the adv isory guideline ra n g e
              D      above the advi sory gu ideline ra n g e

      B       Departure based on (Check all that apply.) :

                                Plea Agreement (Check all that apply and check rea son(s) bel ow.):
                                o    5K1.1 plea agreement based on the defend an t's substantial ass istance
                                D      5K3.\ plea agreem ent based on E arly Disposition or "Fast-track" Pro gram
                                D      b inding p le a agreement fo r departu re accepted by the court
                                D      plea agreement for departure, wh ich the court find s to be reason abl e
                                D      plea agreement th at states that the government will n ot oppose a de fen se dep arture motion.

              2                 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason (s) below.) :
                                D      5K 1.I government motion based on the d efendant' s substanti al assi stance
                                D      5K3.1 gov ernment motion based o n Early D isposition or "F ast-track " program
                                D      g o vernment mot ion for d eparture
                                D      defense motion for departure to which the g overnment did not object
                                D      d efense motion fo r departure to whi ch the g o vernment objected

              3                 Other
                                D      O th e r th an a ple a a greem ent or moti on by th e parti es for d eparture (Check reason(s) below.):

      C           Reason(s) for Departure (Check all that apply other than 5KI .1 or 5K3. I.)

0    4A I.3         Criminal History Inadequacy                  0    5K2.1     Death                                    0    5K2.11      Lesser Harm
D    5HI I          Ag e                                         0    5K2.2     Physical Inju ry                         0    5K2.J2      Coercion and Duress
D    5H U           Education and Vocational Skills              D    5K23      Extreme Psychological Injury             D    5K2.13      Diminished Capacity
0    5H I.3         Mental and Emotional Cond ition              0    5K2.4     Abduction or Unlawful Restraint          0    5K2.14      Public Welfare
D    5HI 4          Physical Condition                           D    5K2.5     Property Damage or Loss                  D    5K2.16      Voluntary Disclosure of Offense
D    5H 15          Employment Record                            D    5K2.6     Weapon or Dangerous Weapon               0    5K2.17      High-Capacity, Semiautomatic Weapon
D    5HI6           Family Ties and Responsibilit ies            0    5K2.7     Disruption of Government Function        D    5K2.18 Violent Street Gang
D    5HI I I        Military Record, Charitable Service,         D    5K2.8     Extreme Conduct                          0    5K2.20 Aberrant Behavior
                    Good Works                                   0    5K2.9     Criminal Purpose                         D    5K2.21 Dismissed and Uncharged Conduct
D    5K2.0          Aggravating or Mitigating Circumstances      0    5K2. IO Victim's Conduct                           0    5K2.22 Age or Health of Sex Offenders
                                                                                                                         D    5K2.23      Discharged Terms of Imprisonment
                                                                                                                         0    Other guideline basis (e.g., 2B I 1 commentary)

      D           Explain the facts justifying the departure. (Use page 4 ifnecessary.)
                     Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 9 of 10
AO 245B    (Rev. 09111)Judgment in a Criminal Case
           Anachment (Page 3) - Statement of Reasons


DEFENDANT: LUZ ENEIDA MORALES a/kJa Mama
CASE NUMBER: 13-CR-30021-DPW-3
DISTRICT:    District of Massachusetts
                                                          STATEMENT OF REASONS

VI   CO URT DETERMINATION FOR SENTENCE OUTSIDE THE ADV IS O RY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence im posed is (Check only one.):
           Iii
             below the advisory guideline range
           o above the advisory guideline range

     B     Sentence imposed pursuant to (Check all that apply.) :

                        Plea Agreement (Check all that apply and check reason(s) below.):
                        o      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                        o      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                        o      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                               system

           2            Motion Not A ddressed in a Plea Agreem ent (Check all that apply and check reason(s) below.):
                        ill' government motion for a sentence outside of the advisory guideline system
                        o      defense motion for a sentence outside of the advisory guideline system to which the government did not object
                        o      defense motion for a sentence outside of the advisory guideline system to which the government objected

           3            Other
                        iZl'   Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below) :

     C     Reason(s) for Sentence Outside the Advisory Guideline Sys te m (Check all that apply.)

           'it the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.c. § 3553(a)(I)
           o to reflect the seriousness of the offense, to promote respect for the law, and to providejust punishment for the offense (18 U.S.c. § 3553(a)(2)(A»
           o to afford adequate deterrence to criminal conduct ( 18 US .c. § 3553(a)(2)(B»
           o to protect the public from further crimes of the defendant ( 18 U.S.C. § 3553(a)(2)(C))
           o to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
                 ( 18 USc. § 3553(a)(2)(D))
           'it to avoid unwarranted sentencing disparities among defendants ( 18 U.S.c. § 3553(a)(6»
           o to provide restitution to any victims of the offense (18 U.S c. § 3553(a)(7))
     o     Explain the facts justifying a sentence outside the ad visory guideline sys tem. (Use page 4 ifnecessary.)
                  Case 3:13-cr-30021-DPW Document 123 Filed 07/23/14 Page 10 of 10
AO 245B    (Rev. 09111) Judgment in a Criminal Case
           Attachment(Page 4) - Statement of Reasons


DEFENDANT: LUZ ENEIDA MORALES a/k/a Mama
CASE NUMBER: 13-CR-30021-DPW-3
DISTRICT:    District of Massachusetts
                                                         STATEMENT OF REASONS

VII   COURT DETERMINATIONS OF RESTITUTION

      A    Q1    Restitution Not Applicable.

      B    Total Amount of Restitution :

      C    Restitution not ordered (Check only one.):

                 D    For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the numberof
                      identifiable victims is so large as to make restitution impracticable under 18 U.s.C. § 3663A(c)(3)(A).

           2     D    For offenses for which restitution is otherwise mandatory under 18 U.S.c. § 3663A, restitution is not ordered because determining complex
                      issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                      that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.c. § 3663A(c)(3)(B)

           3     D    For other offenses for which restitution is authorized under 18 U.S.c. § 3663 and/or required by the sentencing guidelines, restitution is not
                      ordered because the complication and prolongation of the sentencing process resulting from the fashioning ofa restitution order outweigh
                      the need to provide restitution to any victims under 18 U.S.c. § 3663(a)( I)(B)(ii).

           4     D    Restitution is not ordered for other reasons. (Explain.}




      D    D     Partial restitution is ordered for these reasons (/8 u.s.c. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (ljapplicable.)




                   Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.




                                    XXX-XX-6376
Defendant's Soc. Sec. No.:

Defendant'S Date of Birth:        1967                                                                     /2014     f.
                                                                                                           of Imposition of Judgment
                                                                                                                             ~

Defendant's Residence Address:                                                                       Signature of Judge
 Holyoke, MA                                                                                         Douglas P. Woodlock                       U.S.D.J.
Defendant's Mailing Address:                                                                        Name~ndTitl~J)udge'J 7;.. ~/
 Same as above.                                                                                      Date Signed          PI'1     c     I   u,)17
                                                                                                                    J
